The Honorable Charlie Daniels Secretary of State State Capitol, Room 256 Little Rock, Arkansas 72201-1094
Dear Mr. Daniels:
This is in response to your request for an opinion on the effective date of legislation of the Eighty-Fifth regular session of the Arkansas General Assembly. Your request pertains to legislation that did not carry an emergency clause or a specified effective date.
Acts of the General Assembly with no emergency clause or specified effective date become effective ninety days after adjournment of the session at which they were enacted. Fulkerson v. Refunding Board,201 Ark. 957, 147 S.W.2d 980 (1941). This rule stems from Amendment 7 to the Constitution of Arkansas, which gives the people "ninety days after the final adjournment of the session" to file referendum petitions. The day of adjournment is not counted, as it is not a full day during which petitions may be filed.
Your request indicates that the General Assembly adjourned sine die on May 13, 2005. Starting with the first full day after adjournment, and counting ninety full days, acts with no emergency clause or specified effective date become effective on the ninety-first day, which in this case is August 12, 2005.
Deputy Attorney General Elana C. Wills prepared the foregoing opinion, which I hereby approve.
Sincerely,
MIKE BEEBE Attorney General
MB:ECW/cyh